     Case
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      TODD M. LEVENTHAL, ESQ.
1     Nevada Bar No. 8543
      600 South Third Street
2     Las Vegas, Nevada 89101
      (702) 472-8686
3     Attorney for Chester Carl
4
                                   UNITED STATES DISTRICT COURT
5
                                          DISTRICT OF NEVADA
6

7     UNITED STATES OF AMERICA

8                                    Plaintiff,
                                                             2:09-cr-00206-MMD-PAL
9            vs.

10    CHESTER CARL
                                                              Stipulation to Continue
11                                   Defendants.

12

13
             IT IS HEREBY STIPULATED AND AGREED by and between Defendant, CHESTER
14
      CARL, by and through his counsel, TODD M. LEVENTHAL, ESQ., and the United States of
15
      America, by its counsel, DANIEL G. BODGEN, United States Attorney, and TIMOTHY
16
      VASQUEZ, Assistant U.S. Attorney, that the Arraignment and Plea Hearing currently set for
17
      December 21, 2012 at 8:30 a.m. be vacated and reset for the second week of January, 2013.
18
             This Stipulation is entered into for the following reasons:
19
             1. Counsel for the defendant is out of jurisdiction on that day and will be out of town
20
      until the first week of January.
21
             2. Defendant, Chester Carl, lives in Arizona and needs time to make travel arrangements.
22
             3. Counsel for the defendant has spoken to Chester Carl and he has no opposition to the
23
      continuance.
24
             4. Chester Carl is currently not in custody.
25
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     Case
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1            5. Counsel for Chester Carl has spoken to Timothy Vasquez, Assistant U.S. Attorney, and
2     he has no objection to the continuance.
3

4            DATED this 14th day of December, 2012.
5
      ___________-S-___________                                      ____________-S-___________
6
      Todd M. Leventhal, Esq.                                            Timothy Vasquez
7     Counsel for Defendant                                              Assistant U.S. Attorney

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     Case
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      TODD M. LEVENTHAL, ESQ.
1     Nevada Bar No. 8543
      600 South Third Street
2     Las Vegas, Nevada 89101
      (702) 472-8686
3     Attorney for Chester Carl
4
                                   UNITED STATES DISTRICT COURT
5
                                          DISTRICT OF NEVADA
6

7     UNITED STATES OF AMERICA

8                                    Plaintiff,
                                                            2:09-cr-00206-MMD-PAL
9            vs.

10    CHESTER CARL
                                                       FINDINGS OF FACT, CONCLUSIONS
11                                   Defendants.       OF LAW

12

13

14
                                            FINDINGS OF FACT
15
             Based on the stipulation of counsel, and good cause appearing, the Court finds that:
16

17           1. Counsel for the defendant is out of jurisdiction on that day and will be out of town
18    until the first week of January.
19           2. Defendant, Chester Carl, lives in Arizona and needs time to make travel arrangements.
20           3. Counsel for the defendant has spoken to Chester Carl and he has no opposition to the
21    continuance.
22           4. Chester Carl is currently not in custody.
23           5. Counsel for Chester Carl has spoken to Timothy Vasquez, Assistant U.S. Attorney, and
24    he has no objection to the continuance.
25
      //

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      //
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      //



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     Case
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                                               ORDER
1

2            Accordingly, IT IS SO ORDERED that the December 21, 2012 at 8:30 a.m. hearing is
                                                       Weds, January 16th       13 at the hour of
3     vacated and the same is continued and reset for _____________________, 20___,
4       3:00p
      ________.m.,                  3B
                   in courtroom # _______.
5

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7
             DATED this WK day of'HFHPEHU, 2012.

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10
                                                           UNITED STATES JUDGE

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